AO 450 (Rev. 5/85) Judgment in a Civil Case q




                         United States District Court
                                                EASTERN DISTRICT OF WISCONSIN

CRAIG MILLER
NANCY MILLER,

                                                                   JUDGMENT IN A CIVIL CASE
             v.
                                                                            Case No. 06-C-1021
SAFECO INSURANCE
COMPANY OF AMERICA,


9            Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
             and the jury has rendered its verdict.

:            Decision by Court. This action came before the Court for consideration.



         IT IS HEREBY ORDERED AND ADJUDGED that Safeco Insurance Company of America remit
to Craig and Nancy Miller the amount of $446,181.50 (subject to appropriate supplementation since the
filing of the plaintiffs’ brief on October, 25, 2010) as bad faith damages;

         IT IS FURTHER ORDERED, as previously determined in this court’s decision of May 30, 2008,
that Safeco Insurance Company of America remit to Craig and Nancy Miller the amount of $485,100.64 as
is due to them under the terms of the Policy;

        IT IS FURTHER ORDERED that judgment be entered in favor of Craig and Nancy Miller and
against Safeco Insurance Company of America in the total amount of $931,282.14;

        IT IS FURTHER ORDERED that the Millers’ motion for partial summary judgment (Docket # 144)
be and hereby is GRANTED;

             IT IS FURTHER ORDERED that this action be and hereby is DISMISSED.


                                                Approved:   s/ William E. Callahan, Jr.
                                                            WILLIAM E. CALLAHAN, JR.
                                                            United States Magistrate Judge

             Dated this 28th day of December 2010, at Milwaukee, Wisconsin.

                                                            JON W. SANFILIPPO
                                                            Clerk

                                                             s/C. Stanton
                                                            Deputy Clerk
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